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IN THE UNITED STATES DISTRICT COURT Ng l
FOR THE DISTRICT OF UTAH

THE SCO GROUP, INC., a Delaware EXHIBTS TO SCO’S MEMORANDUM

corporation, . IN OPPOSITION TO NOVELL’S
EVIDENTIARY OBJECTIONS TO
Plaintiff and Counterclaim- SCO’S EXHIBITS SUBMITTED IN
Defendant, SUPPORT OF ITS SUMMARY
JUDGMENT OPPOSITIONS FILED
VS. MAY 18, 2007 INCORPORATING BY
REFERENCE NOVELL’S
NOVELL, INC., a Delaware EVIDENTIARY OBJECTIONS TO
corporation, SCO’S SUMMARY JUDGMENT
EXHIBITS

Defendant and Counterclaim-
Plaintiff. Case No. 2:03CV0294DAK

: Defendant/Counterclaim-Plaintiff.

Honorable Dale A. Kimball
Magistrate Judge Brooke C. Wells

